     Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 1 of 18 Page ID #:119




 1 LORI C. HERSHORIN (SBN 155977)

 2
      Email: lorih@hhlawgroup.com
      HERSHORIN & HENRY, LLP
 3    26475 Rancho Parkway South
 4    Lake Forest, CA 92630
      Telephone: (949) 859-5600
 5    Facsimile: (949) 859-5680
 6    Attorneys for Plaintiff, ANTARCTICA SERVICE, INC.

 7 KARIN L. BOHMHOLDT (SBN 234929)
      Email: bohmholdtk@gtlaw.com
 8
      GAGANJYOT K. SANDHU (SBN 327279)
 9    Email: sandhug@gtlaw.com
      GREENBERG TRAURIG, LLP
10
      1840 Century Park East, Suite 1900
11    Los Angeles, California 90067
      Telephone: (310) 586-7700
12
      Facsimile: (310) 586-7800
13    Attorneys for Defendant, JPMORGAN CHASE BANK, N.A.
14
                                    UNITED STATES DISTRICT COURT
15                                 CENTRAL DISTRICT OF CALIFORNIA

16

17 ANTARCTICA SERVICE, INC.,                          CASE NO. 2:21-cv-08199-GW-KS
      a California corporation,
18                                                    [LASC Case No. 21STCV33807]
19                    Plaintiff,
      vs.                                             Assigned to: Hon. George H. Wu
20

21                                                    STIPULATED PROTECTIVE ORDER
      JPMORGAN CHASE BANK, N.A.,
22 a National Bank; and DOES 1-50,                    Action Filed in LASC: September 14, 2021
23 inclusive,
                                                      Action Removed: October 15, 2021
24                    Defendants.
25

26

27

28
                                        STIPULATED PROTECTIVE ORDER
      ACTIVE 60965732v2
     Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 2 of 18 Page ID #:120




 1            Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure and based on
 2 the parties’ Stipulated Protective Order (“Stipulation”) filed on November 4, 2021,

 3 the terms of the protective order to which the parties have agreed are adopted as a

 4 protective order of this Court (which generally shall govern the pretrial phase of

 5 this action) except to the extent, as set forth below, that those terms have been

 6 modified by the Court’s amendment of paragraph 6.3 of the Stipulation.

 7

 8            AGREED TERMS OF THE PROTECTIVE ORDER AS ADOPTED AND
 9 MODIFIED BY THE COURT1

10

11            A. PURPOSES AND LIMITATIONS
12            Discovery in this action is likely to involve production of confidential, proprietary,
13 or private financial information for which special protection from public disclosure and

14 from use for any purpose other than prosecuting this litigation may be warranted.

15 Accordingly, the parties hereby stipulate to and petition the Court to enter the following

16 Stipulated Protective Order. The parties acknowledge that this Order does not confer

17 blanket protections on all disclosures or responses to discovery and that the protection it

18 affords from public disclosure and use extends only to the limited information or items

19 that are entitled to confidential treatment under the applicable legal principles. The

20 parties further acknowledge, as set forth in Section 11.3, below, that this Stipulated

21 Protective Order does not entitle them to file confidential information under seal; Civil

22 Local Rule 79-5 sets forth the procedures that must be followed and the standards that

23 will be applied when a party seeks permission from the court to file material under seal.

24

25            B. GOOD CAUSE STATEMENT
26
      1
27     The Court’s additions to the agreed terms of the Protective Order are indicated in bold typeface. The
      Court has made no deletions.
28
                                         STIPULATED PROTECTIVE ORDER
      ACTIVE 60965732v2
     Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 3 of 18 Page ID #:121




 1            Plaintiff Antarctica Service, Inc. (“Plaintiff” or “ASI”) alleges that it served as an
 2 accommodator for Exchangors in the purchase of real or replacement property in 1031-tax

 3 deferred exchanges. ASI alleges that it was the accommodator for Exchangors Jiping He

 4 and Aizhen, Trustors of the He and Ye Family Trust dated August 23, 2016 (“Trust”), for

 5 the Trust’s purchase of the real property or replacement real property located at 24802

 6 Montclair Creek Ct. Richmond, Texas 77406, in a 1031-tax deferred exchange. ASI

 7 alleges that, by using intercepted, hacked and/or spoofed methods to allegedly hack into

 8 Jiping He’s email account and send fraudulent wire transfer instructions, the Defendants,

 9 identified currently as DOES 1-50, re-directed a wire transfer of the Trust’s escrow funds

10 from the Exchangors, Jiping He and Aizher Ye Trust Account, to the scammers’ banking

11 account located at CHASE BANK ACCOUNT No. ending in 1627 (“CHASE BANK

12 ACCOUNT”) instead of the designated escrow banking account.

13            On September 14, 2021, Plaintiffs filed the instant lawsuit against Defendants
14 variously for (1) Conversion; (2) Wire Fraud; and (3) Declaratory Relief. Only

15 Declaratory Relief is sought against Chase.

16            Plaintiff has requested documents in discovery from Chase and is expected to serve
17 additional discovery which includes confidential and private financial information

18 regarding bank accounts, the names of certain account holders, wire transfer information

19 into the account, transferring bank information from the account, and bank statements.

20            This action is likely to involve confidential and private information for which
21 special protection from public disclosure and from use for any purpose other than

22 prosecution of this action is warranted. Such confidential materials and information

23 consist of, among other things, confidential business or financial information, information

24 otherwise generally unavailable to the public, or which may be privileged or otherwise

25 protected from disclosure under state or federal statutes, court rules, case decisions, or

26 common law. Accordingly, to expedite the flow of information, to facilitate the prompt

27 resolution of disputes over confidentiality of discovery materials, to adequately protect

28
                                      STIPULATED PROTECTIVE ORDER
      ACTIVE 60965732v2
     Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 4 of 18 Page ID #:122




 1 information the parties are entitled to keep confidential, to ensure that the parties are

 2 permitted reasonable necessary uses of such material in preparation for and in the conduct

 3 of trial, to address their handling at the end of the litigation, and serve the ends of justice,

 4 a protective order for such information is justified in this matter. It is the intent of the

 5 parties that information will not be designated as confidential for tactical reasons and that

 6 nothing be so designated without a good faith belief that it has been maintained in a

 7 confidential, non-public manner, and there is good cause why it should not be part of the

 8 public record of this case.

 9

10            1.      DEFINITIONS
11                 1.1     Action: This action for conversion, wire fraud and declaratory relief
12     entitled Antarctica Service Inc., v. JPMorgan Chase Bank, N.A., Case No. 21-ST-CV-
13     33807.
14                 1.2     Challenging Party:    A Party or Non-Party that challenges the
15     designation of information or items under this Order.
16                 1.3     “CONFIDENTIAL” Information or Items: Information (regardless of
17     how it is generated, stored or maintained) or tangible things that qualify for protection
18     under Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
19     Statement.
20                 1.4     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
21     Information or Items: Extremely sensitive “CONFIDENTIAL” Information or Items,
22     the disclosure of which to another Party or Non-Party would create a substantial risk of
23     serious harm that could not be avoided by less restrictive means.
24                 1.5     Counsel: Outside Counsel of Record and House Counsel (as well as
25     their support staff).
26                 1.6     Designating Party: A Party or Non-Party that designates information
27     or items that it produces in disclosures or in responses to discovery as
28
                                      STIPULATED PROTECTIVE ORDER
      ACTIVE 60965732v2
     Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 5 of 18 Page ID #:123




 1     “CONFIDENTIAL” Or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
 2                 1.7    Disclosure or Discovery Material:            All items or information,
 3     regardless of the medium or manner in which it is generated, stored, or maintained
 4     (including, among other things, testimony, transcripts, and tangible things), that are
 5     produced or generated in disclosures or responses to discovery in this matter.
 6                 1.8    Expert: A person with specialized knowledge or experience in a
 7     matter pertinent to the litigation who has been retained by a Party or its counsel to serve
 8     as an expert witness or as a consultant in this Action.
 9                 1.9    House Counsel: Attorneys who are employees of a party to this
10     Action. House Counsel does not include Outside Counsel of Record or any other
11     outside counsel.
12                 1.10   Non-Party: Any natural person, partnership, corporation, association,
13     or other legal entity not named as a Party to this action.
14                 1.11   Outside Counsel of Record: Attorneys who are not employees of a
15     party to this Action but are retained to represent or advise a party to this Action and have
16     appeared in this Action on behalf of that party or are affiliated with a law firm which has
17     appeared on behalf of that party, and includes support staff.
18                 1.12   Party: Any party to this Action, including all of its officers, directors,
19     employees, consultants, retained experts, and Outside Counsel of Record (and their
20     support staffs).
21                 1.13   Producing Party: A Party or Non-Party that produces Disclosure or
22     Discovery Material in this Action.
23                 1.14   Professional Vendors:      Persons or entities that provide litigation
24     support services (e.g., photocopying, videotaping, translating, preparing exhibits or
25     demonstrations, and organizing, storing, or retrieving data in any form or medium) and
26     their employees and subcontractors.
27                 1.15   Protected Material: Any Disclosure or Discovery Material that is
28
                                      STIPULATED PROTECTIVE ORDER
      ACTIVE 60965732v2
     Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 6 of 18 Page ID #:124




 1     designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
 2     EYES ONLY.”
 3                 1.16   Receiving Party:    A Party that receives Disclosure or Discovery
 4     Material from a Producing Party.
 5            2.      SCOPE
 6            The protections conferred by this Stipulation and Order cover not only Protected
 7 Material (as defined above), but also (1) any information copied or extracted from

 8 Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected

 9 Material; and (3) any testimony, conversations, or presentations by Parties or their

10 Counsel that might reveal Protected Material.

11            Any use of Protected Material during a court hearing at trial shall be governed by
12 the orders of the trial judge. This Order does not govern the use of Protected Material

13 during a court hearing or at trial.

14

15            3.      DURATION
16            Even after final disposition of this litigation, the confidentiality obligations
17 imposed by this Order shall remain in effect until a Designating Party agrees otherwise

18 in writing or a court order otherwise directs. Final disposition shall be deemed to be the

19 later of (1) dismissal of all claims and defenses in this Action, with or without prejudice;

20 and (2) final judgment herein after the completion and exhaustion of all appeals,

21 rehearings, remands, trials, or reviews of this Action, including the time limits for filing

22 any motions or applications for extension of time pursuant to applicable law.

23

24            4.      DESIGNATING PROTECTED MATERIAL
25                 4.1    Exercise of Restraint and Care in Designating Material for Protection:
26     Each Party or Non-Party that designates information or items for protection under this
27     Order must take care to limit any such designation to specific material that qualifies
28
                                     STIPULATED PROTECTIVE ORDER
      ACTIVE 60965732v2
     Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 7 of 18 Page ID #:125




 1     under the appropriate standards. The Designating Party must designate for protection
 2     only those parts of material, documents, items, or oral or written communications that
 3     qualify so that other portions of the material, documents, items, or communications for
 4     which protection is not warranted are not swept unjustifiably within the ambit of
 5     this Order.
 6                 Mass, indiscriminate, or routinized designations are prohibited. Designations
 7     that are shown to be clearly unjustified or that have been made for an improper purpose
 8     (e.g., to unnecessarily encumber the case development process or to impose unnecessary
 9     expenses and burdens on other parties) may expose the Designating Party to sanctions.
10                 If it comes to a Designating Party’s attention that information or items that it
11     designated for protection do not qualify for protection, the Designating Party must
12     promptly notify all other Parties that it is withdrawing the inapplicable designation.
13                 4.2      Manner and Timing of Designations: Except as otherwise provided in
14     this Order (see, e.g., second paragraph of section 4.2(a) below), or as otherwise
15     stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
16     under this Order must be clearly so designated before the material is disclosed or
17     produced.
18            Designation in conformity with this Order requires:
19                    (a)   for information in documentary form (e.g., paper or electronic
20      documents, but excluding transcripts of depositions or other pretrial or trial
21      proceedings), that the Producing Party affix at a minimum, the legend
22      “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY”,
23      to each page that contains protected material. If only a portion or portions of the
24      material on a page qualifies for protection, the Producing Party also must clearly
25      identify the protected portion(s) (e.g., by making appropriate markings in the margins).
26            A Party or Non-Party that makes original documents available for inspection need
27 not designate them for protection until after the inspecting Party has indicated which

28
                                       STIPULATED PROTECTIVE ORDER
      ACTIVE 60965732v2
     Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 8 of 18 Page ID #:126




 1 documents it would like copied and produced. During the inspection and before the

 2 designation, all of the material made available for inspection shall be deemed

 3 “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants

 4 copied and produced, the Producing Party must determine which documents, or portions

 5 thereof, qualify for protection under this Order. Then, before producing the specified

 6 documents, the Producing Party must affix the “CONFIDENTIAL” OR “HIGHLY

 7 CONFIDENTIAL – ATTORNEY’S EYES ONLY” to each page that contains Protected

 8 Material. If only a portion or portions of the material on a page qualifies for protection,

 9 the Producing Party also must clearly identify the protected portion(s) (e.g., by making

10 appropriate markings in the margins).

11                    (b)   for testimony given in depositions, that the Designating Party identify
12      the Disclosure or Discovery Material on the record, before the close of the deposition
13      all protected testimony or designate the deposition as confidential with specific portions
14      to be identified within 30 days of receipt of the deposition transcript.
15                    (c)   for information produced in some form other than documentary and
16      for any other tangible items, that the Producing Party affix in a prominent place on the
17      exterior of the container or containers in which the information is stored the legend
18      “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY.”
19      If only a portion or portions of the information warrants protection, the Producing
20      Party, to the extent practicable, shall identify the protected portion(s).
21                 4.3      Inadvertent Failures to Designate: If timely corrected, an inadvertent
22     failure to designate qualified information or items does not, standing alone, waive the
23     Designating Party’s right to secure protection under this Order for such material. Upon
24     timely correction of a designation, the Receiving Party must make reasonable efforts to
25     assure that the material is treated in accordance with the provisions of this Order.
26

27            5.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
28
                                       STIPULATED PROTECTIVE ORDER
      ACTIVE 60965732v2
     Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 9 of 18 Page ID #:127




 1                 5.1      Timing of Challenges: Any Party or Non-Party may challenge a
 2     designation of confidentiality at any time that is consistent with the Court’s Scheduling
 3     Order.
 4                 5.2      Meet and Confer: The Challenging Party shall initiate the dispute
 5     resolution process under Local Rule 37.1 et seq.
 6                 5.3      The burden of persuasion in any such challenge proceeding shall be
 7     on the Designating Party. Frivolous challenges, and those made for an improper
 8     purpose (e.g., to harass or impose unnecessary expenses and burdens on other parties)
 9     may expose the Challenging Party to sanctions. Unless the Designating Party has
10     waived or withdrawn the confidentiality designation, all parties shall continue to afford
11     the material in question the level of protection to which it is entitled under the
12     Producing Party’s designation until the Court rules on the challenge.
13            6.      ACCESS TO AND USE OF PROTECTED MATERIAL
14                 6.1      Basic Principles: A Receiving Party may use Protected Material that
15     is disclosed or produced by another Party or by a Non-Party in connection with this
16     Action only for prosecuting, defending, or attempting to settle this Action. Such
17     Protected Material may be disclosed only to the categories of persons and under the
18     conditions described in this Order. When the Action has been terminated, a Receiving
19     Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
20            Protected Material must be stored and maintained by a Receiving Party at a
21 location and in a secure manner that ensures that access limited to the persons authorized

22 under this Order.

23                 6.2      Disclosure of “CONFIDENTIAL” Information or Items.           Unless
24     otherwise ordered by the court or permitted in writing by the Designating Party, a
25     Receiving Party may disclose any information or item designated “CONFIDENTIAL”
26     only to:
27                    (a)   the Receiving Party’s Outside Counsel of Record in this Action, as
28
                                      STIPULATED PROTECTIVE ORDER
      ACTIVE 60965732v2
 Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 10 of 18 Page ID #:128




 1     well as employees of said Outside Counsel of Record to whom it is reasonably
 2     necessary to disclosure the information for this Action;
 3                   (b)   the officers, directors, and employees (including House Counsel) of
 4     the Receiving Party to whom disclosure is reasonably necessary for this Action;
 5                   (c)   experts (as defined in this Order) of the Receiving Party to whom
 6     disclosure is reasonably necessary for this Action and who have signed the
 7     “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 8                   (d)   the court and its personnel;
 9                   (e)   court reporters and their staff;
10                   (f)   professional jury or trial consultants, mock jurors, and Professional
11     Vendors to whom disclosure is reasonably necessary for this Action and who have
12     signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
13                   (g)   the author or recipient of a document containing the information or a
14     custodian or other person who otherwise possessed or knew the information;
15                   (h)   during their depositions, witnesses, and attorneys for witnesses, in the
16     Action to whom disclosure is reasonably necessary provided: (1) the deposing party
17     requests that the witness sign the form “Acknowledgment and Agreement to Be Bound”
18     attached as Exhibit A hereto; and (2) they will not be permitted to keep any confidential
19     information unless they sign the “Acknowledgment and Agreement to Be Bound”
20     (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court.
21     Pages of transcribed deposition testimony or exhibits to depositions that reveal Protected
22     Material may be separately bound by the court reporter and may not be disclosed to
23     anyone except as permitted under this Stipulated Protective Order; and
24                   (i)   any mediator or settlement officer, and their supporting personnel,
25     mutually agreed upon by any of the parties engaged in settlement discussions.
26                   6.3   Disclosure of “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
27 ONLY” Information or Items. Unless otherwise ordered by the court or permitted in

28
                                       STIPULATED PROTECTIVE ORDER
     ACTIVE 60965732v2
 Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 11 of 18 Page ID #:129




 1 writing by the Designating Party, a Receiving Party may disclose any information or item

 2 designated “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY” to:

 3                   (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
 4 as employees of said Outside Counsel of Record to whom it is reasonably necessary to

 5 disclose the information for this Action;

 6                   (b) Experts (as defined in this Order) of the Receiving Party to whom
 7 disclosure is reasonably necessary for this Action and who have signed the

 8 “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 9                   (c) the court and its personnel;
10                   (d) private court reporters and their staff to whom disclosure is reasonably
11 necessary for this Action and who have signed the “Acknowledgment and Agreement to

12 Be Bound” (Exhibit A);

13                   (e) professional jury or trial consultants, mock jurors, and Professional
14 Vendors to whom disclosure is reasonably necessary for this Action and who have signed

15 the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

16                   (f) the author or recipient of a document containing the information or a
17 custodian or other person who otherwise possessed or knew the information; and

18                   (g)   any mediator or settlement officer, and their supporting personnel,
19 mutually agreed upon by any of the parties engaged in settlement discussions.

20

21           7.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
22 IN OTHER LITIGATION

23           If a Party is served with a subpoena or a court order issued in other litigation that
24 compels disclosure of any information or items designated in this Action as

25 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,”

26 that Party must:

27                   (a)   promptly notify in writing the Designating Party. Such notification
28
                                       STIPULATED PROTECTIVE ORDER
     ACTIVE 60965732v2
 Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 12 of 18 Page ID #:130




 1     shall include a copy of the subpoena or court order unless prohibited by law;
 2                   (b)   promptly notify in writing the party who caused the subpoena or order
 3     to issue in the other litigation that some or all of the material covered by the subpoena
 4     or order is subject to this Protective Order. Such notification shall include a copy of
 5     this Stipulated Protective Order; and
 6                   (c)   cooperate with respect to all reasonable procedures sought to be
 7     pursued by the Designating Party whose Protected Material may be affected.
 8           If the Designating Party timely seeks a protective order, the Party served with the
 9 subpoena or court order shall not produce any information designated in this action as

10 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

11 before a determination by the court from which the subpoena or order issued, unless the

12 Party has obtained the Designating Party’s permission, or unless otherwise required by

13 the law or court order. The Designating Party shall bear the burden and expense of

14 seeking protection in that court of its confidential material and nothing in these

15 provisions should be construed as authorizing or encouraging a Receiving Party in this

16 Action to disobey a lawful directive from another court.

17

18           8.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
19 PRODUCED IN THIS LITIGATION

20                   (a)   The terms of this Order are applicable to information produced by a
21     Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
22     CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information produced by
23     Non-Parties in connection with this litigation is protected by the remedies and relief
24     provided by this Order. Nothing in these provisions should be construed as prohibiting
25     a Non-Party from seeking additional protections.
26                   (b)   In the event that a Party is required, by a valid discovery request, to
27     produce a Non-Party’s confidential information in its possession, and the Party is
28
                                      STIPULATED PROTECTIVE ORDER
     ACTIVE 60965732v2
 Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 13 of 18 Page ID #:131




 1     subject to an agreement with the Non-Party not to produce the Non-Party’s confidential
 2     information, then the Party shall:
 3                       (1) Promptly notify in writing the Requesting Party and the Non-Party
 4     that some or all of the information requested is subject to a confidentiality agreement
 5     with the Non-Party;
 6                       (2) Promptly provide the Non-Party with a copy of the Stipulated
 7     Protective Order in this Action, the relevant discovery request(s), and a reasonably
 8     specific description of the information requested; and
 9                       (3) Make the information requested available for inspection by the Non-
10     Party, if requested.
11                   (c)     If the Non-Party represented by counsel fails to commence the process
12     called for by Local Rules 45-1 and 37-1, et seq. fails to seek a protective order from this
13     court within 14 days of receiving the notice and accompanying information or fails
14     contemporaneously to notify the Receiving Party that it has done so, the Receiving
15     Party may produce the Non-Party’s confidential information responsive to the discovery
16     request. If an unrepresented Non-Party fails to seek a protective order from this court
17     within 14 days of receiving the notice and accompanying information, the Receiving
18     Party may produce the Non-Party’s confidential information responsive to the discovery
19     request. If the Non-Party timely seeks a protective order, the Receiving Party shall not
20     produce any information in its possession or control that is subject to the confidentiality
21     agreement with the Non-Party before a determination by the court unless otherwise
22     required by the law or court order. Absent a court order to the contrary, the Non-Party
23     shall bear the burden and expense of seeking protection in this court of its Protected
24     Material.
25

26           9.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
27           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
28
                                        STIPULATED PROTECTIVE ORDER
     ACTIVE 60965732v2
 Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 14 of 18 Page ID #:132




 1 Protected Material to any person or in any circumstance not authorized under this

 2 Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing

 3 the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve

 4 all unauthorized copies of the Protected Material, (c) inform the person or persons to

 5 whom unauthorized disclosures were made of all the terms of this Order, and (d) request

 6 such person or persons to execute the “Acknowledgment and Agreement to Be Bound”

 7 that is attached hereto as Exhibit A.

 8           10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 9           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
10 Protected Material to any person or in any circumstance not authorized under this

11 Protective Order, the Receiving Party must immediately (a) notify in writing the

12 Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve all

13 unauthorized copies of the Protected Material, (c) inform the person or persons to whom

14 unauthorized disclosures were made of all the terms of this Order, and

15 (d) request such person or persons to execute the “Acknowledgment and Agreement to

16 Be Bound” (Exhibit A).

17

18           11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
19 PROTECTED MATERIAL

20

21

22

23

24

25

26

27

28
                                    STIPULATED PROTECTIVE ORDER
     ACTIVE 60965732v2
 Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 15 of 18 Page ID #:133




 1           When a Producing Party gives notice to Receiving Parties that certain inadvertently
 2 produced material is subject to a claim of privilege or other protection, the obligations of

 3 the Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B),

 4 except that no party shall present such materials to the Court for in camera review.

 5 Instead, upon notification that material has been produced inadvertently and is subject to

 6 a claim of privilege or other protection, all other parties shall promptly return or destroy

 7 the specified information and any copies it has; must not use or disclose the information

 8 until the claim is resolved; must take reasonable steps to retrieve the information if the

 9 party disclosed it before being notified.        This provision is not intended to modify
10 whatever procedure may be established in an e-discovery order that provides for

11 production without prior privilege review. Pursuant to Federal Rule of Evidence 502(d)

12 and (e), insofar as the parties reach an agreement on the effect of disclosure of a

13 communication or information covered by the attorney-client privilege or work product

14 protection, the parties may incorporate their agreement in the stipulated protective order

15 submitted to the court.

16

17           12.     MISCELLANEOUS
18                 12.1   Right to Further Relief. Nothing in this Order abridges the right of
19    any person to seek its modification by the Court in the future.
20                 12.2   Right to Assert Other Objections. By stipulating to the entry of this
21    Protective Order no Party waives any right it otherwise would have to object to
22    disclosing or producing any information or item on any ground not addressed in this
23    Stipulated Protective Order. Similarly, no Party waives any right to object on any ground
24    to use in evidence of any of the material covered by this Protective Order.            This
25    Stipulation is without prejudice to any Party’s right to assert that any material is subject
26    to any applicable claim of privilege or protection, including, but not limited to, the
27    attorney client privilege, and the work product doctrine, or is subject to any federal or
28
                                     STIPULATED PROTECTIVE ORDER
     ACTIVE 60965732v2
 Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 16 of 18 Page ID #:134




 1    state regulations prohibiting the disclosure of such material (including the Bank Secrecy
 2    Act and 31 U.S.C. 5318(g)(2)(A)(1), 31 C.F.R. § 21.11, Section 314(a) of the PATRIOT
 3    ACT, 12 U.S.C. § § 3414(a)(3) and 5(D) or any other applicable regulations concerning
 4    potential suspicious act), and is without prejudice to any Party’s right to contest such a
 5    claim of privilege or protection.
 6                 12.3   Filing Protected Material: A Party that seeks to file under seal any
 7    Protected Material must comply with Civil Local Rule 79-5 and with any pertinent
 8    orders of the assigned District Judge and Magistrate Judge. Protected Material may only
 9    be filed under seal pursuant to a court order authorizing the sealing of the specific
10    Protected Material at issue. If a Party's request to file Protected Material under seal is
11    denied by the court, then the Receiving Party may file the information in the public
12    record unless otherwise instructed by the court.
13

14           13.     FINAL DISPOSITION
15           After the final disposition of this Action, as defined in paragraph 1, within 60 days
16 of a written request by the Designating Party, each Receiving Party must return all

17 Protected Material to the Producing Party or destroy such material. As used in this

18 subdivision, “all Protected Material” includes all copies, abstracts, compilations,

19 summaries, and any other format reproducing or capturing any of the Protected Material.

20 Whether the Protected Material is returned or destroyed, the Receiving Party must submit

21 a written certification to the Producing Party (and, if not the same person or entity, to the

22 Designating Party) by the 60 day deadline that (1) identifies (by category, where

23 appropriate) all the Protected Material that was returned or destroyed and (2) affirms that

24 the Receiving Party has not retained any copies, abstracts, compilations, summaries or

25 any other format reproducing or capturing any of the Protected Material. Notwithstanding

26 this provision, Counsel are entitled to retain an archival copy of all pleadings, motion

27 papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,

28
                                     STIPULATED PROTECTIVE ORDER
     ACTIVE 60965732v2
 Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 17 of 18 Page ID #:135




 1 deposition and trial exhibits, expert reports, attorney work product, and consultant and

 2 expert work product, even if such materials contain Protected Material. Any such archival

 3 copies that contain or constitute Protected Material remain subject to this Protective

 4 Order as set forth in Section 3 (DURATION).

 5

 6           14.     Any violation of this Order may be punished by any and all appropriate
 7 measures including, without limitation, contempt proceedings and/or monetary sanctions.

 8

 9 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD:

10
     DATED: November 4, 2021
11

12 /s/ Lori C. Hershorin                   .
     LORI C. HERSHORIN
13 Attorneys for Plaintiff, Antarctica Service, Inc.

14

15 DATED: November 4, 2021

16
     /s/ Gaganjyot K. Sandhu           .
17 KARIN L. BOHMHOLDT

18 GAGANJYOT K. SANDHU
     Attorneys for Defendant, JPMorgan Chase Bank, N.A.
19

20

21
                                               ORDER
22

23
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED:
24

25
     DATED: November 9, 2021                      ________________________________ ___
26
                                                          KAREN L. STEVENSON
27                                                UNITED STATES MAGISTRATE JUDGE
28
                                     STIPULATED PROTECTIVE ORDER
     ACTIVE 60965732v2
 Case 2:21-cv-08199-GW-KS Document 14 Filed 11/09/21 Page 18 of 18 Page ID #:136




 1

 2                                              EXHIBIT A
 3                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 4 I, _____________________________ [print or type full name], of

 5 _________________ [print or type full address], declare under penalty of perjury that I

 6 have read in its entirety and understand the Stipulated Protective Order that was issued by

 7 the     United States District Court for the Central District of California on
 8 ___________________[date] in the case of Antarctica Service, Inc. v. JPMorgan Chase

 9 Bank, N.A., Case No. 21-ST-CV-33807. I agree to comply with and to be bound by all the

10 terms of this Stipulated Protective Order and I understand and acknowledge that failure to

11 so comply could expose me to sanctions and punishment in the nature of contempt. I

12 solemnly promise that I will not disclose in any manner any information or item that is

13 subject to this Stipulated Protective Order to any person or entity except in strict

14 compliance with the provisions of this Order. I further agree to submit to the jurisdiction

15 of the United States District Court for the Central District of California for the purpose of

16 enforcing the terms of this Stipulated Protective Order, even if such enforcement

17 proceedings           occur   after   termination     of   this   action.     I    hereby    appoint
18 __________________________                   [print        or     type      full     name]        of
19 _______________________________________ [print or type full address and telephone

20 number] as my California agent for service of process in connection with this action or

21 any proceedings related to enforcement of this Stipulated Protective Order.

22

23 Date: ______________________________________

24 City and State where sworn and signed: _________________________________

25 Printed name: _______________________________

26 Signature: __________________________________

27

28
                                         STIPULATED PROTECTIVE ORDER
     ACTIVE 60965732v2
